










TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


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NO. 03-04-00809-CV
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In the Matter of C. J. M.




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FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT
NO. J-22,496, HONORABLE W. JEANNE MEURER, JUDGE PRESIDING
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M E M O R A N D U M   O P I N I O N


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;C. J. M. appeals from the juvenile court’s order committing her to the custody of the
Texas Youth Commission pursuant to section 54.04 of the Texas Family Code.  See Tex. Fam. Code
Ann. § 54.04 (West Supp. 2005).  In her sole point of error, C. J. M. contends the evidence is legally
and factually insufficient to support the trial court’s commitment order.  Because we find that the
evidence is sufficient, we affirm the trial court’s order committing C. J. M. to the Texas Youth
Commission.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On October 25, 2004, the State filed its original petition against C. J. M., alleging that
on or about October 18, 2004, C. J. M. committed the misdemeanor offense of evading arrest.  See
Tex. Pen. Code Ann. § 38.04 (West 2003).  At an adjudication hearing on October 28, 2004, C. J.&nbsp;M.
pleaded “true” to the State’s allegations that she evaded arrest.  At a disposition hearing on
November 1, the court heard evidence concerning the appropriate disposition.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;C. J. M.’s probation officer testified and the court, upon consent of both counsel, took
judicial notice of the probation report describing C. J. M.’s previous involvement with the juvenile
justice system.  In six prior referrals to the juvenile court that included assault, violation of court
orders, evading detention, and failure to identify, the report reflected that five of the referrals resulted
in dispositions in which C. J. M. was placed on probation or the probation was modified.  The record
reflects that C. J. M. was originally placed on probation on March 12, 2003, for an assault occurring
on October 28, 2002.  She was placed on probation again in April 2004 for evading arrest on March
19, 2004.  At the time of her current arrest, she was on probation until April 8, 2005.  According to
the report, one referral of violation of a court order was dismissed.  The report also stated that
C.&nbsp;J.&nbsp;M. was eligible to be committed to the Texas Youth Commission if she was adjudicated either
on a motion to modify her current probation or on a new offense.  Neither counsel objected to any
aspect of the report.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On appeal, C. J. M. challenges the commitment order, claiming that the evidence was
insufficient to show she had any prior adjudications and was therefore eligible for commitment.  She
urges that the trial court abused its discretion in committing her to the Texas Youth Commission
because it was not a permissible option.  See Tex. Fam. Code Ann. § 54.04.  We disagree.  After a
review of the record, we conclude that the commitment order satisfies the statutory criteria.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The family code provides that a disposition may be made by committing a child to
the Texas Youth Commission if there is evidence showing that the child engaged in delinquent
conduct constituting a felony offense or has successive misdemeanor adjudications.  Id.
§&nbsp;54.04(d)(2), (s), (t).  Section 54.04(s) provides that the court may commit the child to the Texas
Youth Commission for conduct that violates a penal law of the grade of misdemeanor if:
&nbsp;
(1)&nbsp;&nbsp;the child has been adjudicated as having engaged in delinquent conduct violating
a penal law of the grade of misdemeanor on at least two prior occasions;
&nbsp;
(2)&nbsp;&nbsp;of the previous adjudications, the conduct that was the basis for one of the
adjudications occurred after the date of another previous adjudication; and
&nbsp;
(3)&nbsp;&nbsp;the conduct that is the basis of the current adjudication occurred after the date
of at least two previous adjudications.
&nbsp;
&nbsp;
Id. § 54.04(s).  Thus, the family code limits when a juvenile who engages in misdemeanor delinquent
conduct, as here, may be committed to the Texas Youth Commission.  For the commission of a
misdemeanor to result in commitment, the juvenile must have two earlier misdemeanor
adjudications, the conduct on which a later adjudication is based must have occurred after an earlier
adjudication, and the conduct that is the basis for the current adjudication must have occurred after
the date of two prior adjudications.  Id.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In the current proceeding, C. J. M. was adjudicated delinquent on October 28, 2004,
for the misdemeanor offense of evading arrest, which occurred on October 18, 2004.  See Tex. Pen.
Code Ann. § 38.04.  Because (i) C. J. M. had been adjudicated delinquent on at least two previous
occasions for offenses at least at the misdemeanor level before the current adjudication, (ii) of the
previous adjudications, the conduct of a later offense clearly occurred after a previous adjudication,
and (iii) the conduct that is the basis of the current adjudication occurred after the dates of two prior
adjudications, the statutory criteria are satisfied.  See Tex. Fam. Code Ann. § 54.04(s).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We overrule C. J. M.’s sole point of error and affirm the order of the juvenile court
committing C. J. M. to the care, custody and control of the Texas Youth Commission.




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;__________________________________________

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Jan P. Patterson, Justice

Before Justices B. A. Smith, Patterson and Puryear

Affirmed

Filed:   January 12, 2006



